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Counsel for Nobuaki Kobayashi, in his capacity
as the Bankruptcy Trustee and Foreign Representative
of MtGox Co., Ltd., a/k/a MtGox KK

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 In re:                                               Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                    Case No. 14-31229-sgj-15

                    Debtor in a Foreign Proceeding.


                UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE

          Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign representative

(the “Foreign Representative”) of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), a debtor in

a bankruptcy proceeding under Japanese law (the “Japan Bankruptcy”), currently pending before

the Twentieth Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”), by his




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undersigned U.S. counsel, hereby moves (the “Motion”) to continue the Status Conference (the

“Status Conference”), which is currently set for August 6, 2014 at 2:30 p.m. (prevailing Central

Time). In support of this Motion, the Foreign Representative respectfully states as follows:

                                    JURISDICTION AND VENUE

          1.        This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

          2.        Venue for this proceeding is proper before this Court pursuant to 28 U.S.C. §

1410.

                                        RELIEF REQUESTED

          3.        By this Motion, the Foreign Representative respectfully seeks entry of an order

continuing the Status Conference to September 10, 2014 at 1:30 p.m. (prevailing Central Time).

                                 CERTIFICATE OF CONFERENCE

          4.        On August 5, 2014, counsel to the Foreign Representative, through his U.S.

counsel, conferred with the parties-in-interest to the Status Conference. The parties-in-interest

do not oppose the relief requested in this Motion.

                                            CONCLUSION

          WHEREFORE, the Foreign Representative respectfully requests that this Court (a) grant

this Motion and enter an order continuing the Status Conference to September 10, 2014 at 1:30

p.m. (prevailing Central Time), and (b) grant the Foreign Representative such other and further

relief as the Court deems just and proper.




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Dated:      Dallas, Texas                   GARDERE WYNNE SEWELL LLP
            August 6, 2014

                                            /s/ Marcus A. Helt
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                                            of MtGox Co., Ltd., a/k/a MtGox KK




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